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         EXHIBIT A-49
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                                               Grant P. Fondo                          Goodwin Procter LLP
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                                                                                       goodwinlaw.com




                                                             CONFIDENTIAL TREATMENT REQUESTED
                                                                   BY BAM TRADING SERVICES INC.
                                                                    PURSUANT TO 17 C.F.R. § 200.83
June 11, 2021



VIA FTP (ENF-CPU@SEC.GOV)

Kathleen Hitchins                                         ENF-CPU
Senior Counsel, Division of Enforcement                   U.S. Securities and Exchange Commission
U.S. Securities and Exchange Commission                   6315 Bren Mar Drive, Suite 175
100 F Street, NE                                          Alexandria, VA 22312
Washington, D.C. 20549-5720                               ENF-CPU@sec.gov


Re:     In the Matter of Binance.US (HO-13865)

Dear Ms. Hitchins:

       As you know, we represent BAM Trading Services Inc. (“BAM Trading”) in the above captioned
matter. We write with respect to the subpoena issued by the U.S. Securities and Exchange Commission
(the “SEC”) to BAM Trading, dated December 17, 2020 (the “Subpoena”), in connection with the above-
referenced matter. In response to the Subpoena and pursuant to our prior discussions regarding the
Subpoena, enclosed please find BAM Trading’s twelfth production of documents, bearing Bates-stamp
numbers BTS00033445 - BTS00037802. As previously agreed, BAM Trading will continue producing
responsive documents on a rolling basis.

        As reflected on the log attached hereto as Exhibit A, this production includes certain BAM Trading
business records that are primarily responsive to Requests No. 8, 9, 13, 15, 21, 31, 38, 43, 44 and 45.
Furthermore, attached hereto as Exhibit B are certain narratives prepared by BAM Trading’s counsel
responsive to Requests No. 23, 24, and 27. This production, along with this letter, are being provided
contemporaneously via secure file transfer to ENF-CPU at the above-identified address. The password
to access the production will be provided by email. We have not withheld any documents on the basis of
privilege or other protected grounds from this production, nor have any documents within this production
been redacted.

        None of the documents or information we are providing in response to the Subpoena are intended
to constitute a waiver of any attorney-client privilege, attorney work product protection, or any other legal
privilege or other protection. Any production of privileged or otherwise protected documents is
inadvertent.




      FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                      BTS00033433
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                                                             CONFIDENTIAL TREATMENT REQUESTED
                                                                   BY BAM TRADING SERVICES INC.
                                                                    PURSUANT TO 17 C.F.R. § 200.83

                              *                       *                       *

         Pursuant to 17 C.F.R. § 200.83, we respectfully request confidential treatment for (i) this letter,
(ii) the materials transmitted with this letter, (iii) any memoranda, notes, correspondence, or other writings
made by any member or employee of the Commission relating to any of the foregoing documents or any
conference or telephone call with respect thereto, and (iv) any copies or extracts of any of the foregoing
(collectively, the “Confidential Materials”). This request for confidential treatment is made for reasons of
financial and business confidentiality under FOIA Exemption 4, 5 U.S.C. § 552(b)(4). This request is not
to be construed as a waiver of any other protection from disclosure or confidential treatment accorded by
law, and BAM Trading will rely on and invoke any such confidentiality protection. We respectfully request
that the Confidential Materials be maintained in confidence, not be made part of any public record, and
not be disclosed to any person as it contains confidential information. In accordance with 17 C.F.R.
§ 200.83(d)(1), if any person (including any governmental employee who is not an employee of the
Commission) should request access to or an opportunity to inspect this letter or any supplemental
materials transmitted herewith, we request that we be immediately notified of any such request, be
furnished with a copy of all written materials pertaining to such request (including, but not limited to, the
request itself) and be given at least ten business days advance notice of any intended release so that
BAM Trading may, if deemed necessary or appropriate, pursue any remedies available to it. In such an
event, we request that you contact the undersigned by telephone, in addition to sending the required
notice by mail.

                              *                       *                       *

Should you have any further questions regarding this matter, please do not hesitate to contact us.




   FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                          BTS00033434
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                                                       CONFIDENTIAL TREATMENT REQUESTED
                                                             BY BAM TRADING SERVICES INC.
                                                              PURSUANT TO 17 C.F.R. § 200.83

Sincerely,

/s/ Grant P. Fondo

Grant P. Fondo
Meghan K. Spillane


cc:     Paul Kim, Assistant Director, U.S. Securities and Exchange Commission
        Ann Rosenfield, Senior Counsel, U.S. Securities and Exchange Commission
        Adam Gottlieb, Senior Counsel, U.S. Securities and Exchange Commission

        Matthew Solomon, Cleary Gottlieb Steen & Hamilton LLP
        Alexander Janghorbani, Cleary Gottlieb Steen & Hamilton LLP

Enclosures (via FTP)




      FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                BTS00033435
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                          In the Matter of Binance.US (HO-13865) EXHIBIT A



  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00000001     BTS00000005                              N/A                 BTS_Vol_001
BTS00000006     BTS00000066                               9                  BTS_Vol_001
BTS00000067     BTS00000096                              1, 5                BTS_Vol_001
BTS00000097     BTS00000099                               10                 BTS_Vol_001
BTS00000100     BTS00000222                               35                 BTS_Vol_001
BTS00000223     BTS00000271                               10                 BTS_Vol_001
BTS00000272     BTS00000274                               30                 BTS_Vol_001
BTS00000275     BTS00000281                             9, 35                BTS_Vol_001
BTS00000282     BTS00000282                               4                  BTS_Vol_001
BTS00000283     BTS00000287                              N/A                 BTS_Vol_002
BTS00000288     BTS00000502                               9                  BTS_Vol_002
BTS00000503     BTS00000510                           9, 15, 13              BTS_Vol_002
BTS00000511     BTS00000529                         9, 10, 15, 31            BTS_Vol_002
BTS00000530     BTS00002235                             15, 31               BTS_Vol_002
BTS00002236     BTS00002464                         15, 18, 31, 39           BTS_Vol_002
BTS00002465     BTS00003092                           15, 31, 39             BTS_Vol_002
BTS00003093     BTS00003098                         15, 19, 31, 39           BTS_Vol_002
BTS00003099     BTS00003101                       15, 19, 25, 26, 31         BTS_Vol_002
BTS00003102     BTS00003111                           6, 15, 31              BTS_Vol_002
BTS00003112     BTS00003196                         6, 15, 31, 39            BTS_Vol_002
BTS00003197     BTS00003977                         15, 25, 26, 31           BTS_Vol_002
BTS00003978     BTS00003989                       15, 25, 26, 31, 39         BTS_Vol_002
BTS00003990     BTS00004006                       6, 15, 25, 26, 31          BTS_Vol_002
BTS00004007     BTS00004018                           10, 15, 31             BTS_Vol_002
BTS00004019     BTS00004022                       6, 10, 15, 30, 31          BTS_Vol_002
BTS00004023     BTS00004058                    6, 7, 10, 15, 19, 31, 39      BTS_Vol_002
BTS00004059     BTS00004663                           7, 15, 31              BTS_Vol_002
BTS00004664     BTS00004672                      6, 7, 15, 18, 31, 39        BTS_Vol_002
BTS00004673     BTS00004689                         7, 15, 31, 39            BTS_Vol_002
BTS00004690     BTS00004692                         7, 15, 19, 31            BTS_Vol_002
BTS00004693     BTS00004835                          6, 7, 15, 31            BTS_Vol_002
BTS00004836     BTS00005010                        6, 7, 15, 31, 39          BTS_Vol_002
BTS00005011     BTS00005119                      6, 7, 15, 25, 26, 31        BTS_Vol_002
BTS00005120     BTS00005125                              N/A                 BTS_Vol_003
BTS00005126     BTS00005265                               9                  BTS_Vol_003
BTS00005266     BTS00005271                               30                 BTS_Vol_003
BTS00005272     BTS00005272                         6, 15, 31, 39            BTS_Vol_003
BTS00005273     BTS00005273                      6, 15, 25, 26, 31, 39       BTS_Vol_003
BTS00005274     BTS00005274                         7, 10, 25, 26            BTS_Vol_003
BTS00005275     BTS00005275                           10, 25, 26             BTS_Vol_003
BTS00005276     BTS00005278                          2, 3, 11, 14            BTS_Vol_003
BTS00005279     BTS00005337                               12                 BTS_Vol_003
BTS00005338     BTS00005338                               47                 BTS_Vol_003




FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                   BTS00033436
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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00005339     BTS00005339                        6, 7, 15, 31, 39          BTS_Vol_003
BTS00005340     BTS00005342                      6, 7, 19, 25, 26, 39        BTS_Vol_003
BTS00005343     BTS00005352                            25, 26                BTS_Vol_003
BTS00005353     BTS00005354                         7, 25, 26, 39            BTS_Vol_003
BTS00005355     BTS00005356                          6, 7, 25, 26            BTS_Vol_003
BTS00005357     BTS00005368                        6, 7, 25, 26, 39          BTS_Vol_003
BTS00005369     BTS00005385                           1, 4, 5, 9             BTS_Vol_003
BTS00005386     BTS00005386                         6, 19, 25, 26            BTS_Vol_003
BTS00005387     BTS00005387                       6, 19, 25, 26, 39          BTS_Vol_003
BTS00005388     BTS00005468                            25, 26                BTS_Vol_003
BTS00005469     BTS00005476                           25, 26, 39             BTS_Vol_003
BTS00005477     BTS00005499                         6, 25, 26, 39            BTS_Vol_003
BTS00005500     BTS00005506                              N/A                 BTS_Vol_004
BTS00005507     BTS00005522                              32                  BTS_Vol_004
BTS00005523     BTS00005523                              17                  BTS_Vol_004
BTS00005524     BTS00005525                              32                  BTS_Vol_004
BTS00005526     BTS00005579                              12                  BTS_Vol_004
BTS00005580     BTS00005580                              32                  BTS_Vol_004
BTS00005581     BTS00005612                            6, 7, 39              BTS_Vol_004
BTS00005613     BTS00005613                          6, 7, 25, 26            BTS_Vol_004
BTS00005614     BTS00005617                            6, 7, 39              BTS_Vol_004
BTS00005618     BTS00005618                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005619     BTS00005621                            6, 7, 39              BTS_Vol_004
BTS00005622     BTS00005624                              6, 7                BTS_Vol_004
BTS00005625     BTS00005626                            6, 7, 39              BTS_Vol_004
BTS00005627     BTS00005627                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005628     BTS00005632                            6, 7, 39              BTS_Vol_004
BTS00005633     BTS00005633                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005634     BTS00005634                              6, 7                BTS_Vol_004
BTS00005635     BTS00005641                            6, 7, 39              BTS_Vol_004
BTS00005642     BTS00005642                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005643     BTS00005661                            6, 7, 39              BTS_Vol_004
BTS00005662     BTS00005662                          6, 7, 25, 26            BTS_Vol_004
BTS00005663     BTS00005667                            6, 7, 39              BTS_Vol_004
BTS00005668     BTS00005670                              6, 7                BTS_Vol_004
BTS00005671     BTS00005676                            6, 7, 39              BTS_Vol_004
BTS00005677     BTS00005677                           7, 25, 26              BTS_Vol_004
BTS00005678     BTS00005683                            6, 7, 39              BTS_Vol_004
BTS00005684     BTS00005685                              6, 7                BTS_Vol_004
BTS00005686     BTS00005692                            6, 7, 39              BTS_Vol_004
BTS00005693     BTS00005693                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005694     BTS00005702                            6, 7, 39              BTS_Vol_004
BTS00005703     BTS00005703                          6, 7, 25, 26            BTS_Vol_004




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00005704     BTS00005745                            6, 7, 39              BTS_Vol_004
BTS00005746     BTS00005746                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005747     BTS00005759                            6, 7, 39              BTS_Vol_004
BTS00005760     BTS00005761                              6, 7                BTS_Vol_004
BTS00005762     BTS00005786                            6, 7, 39              BTS_Vol_004
BTS00005787     BTS00005788                              6, 7                BTS_Vol_004
BTS00005789     BTS00005800                            6, 7, 39              BTS_Vol_004
BTS00005801     BTS00005801                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005802     BTS00005813                            6, 7, 39              BTS_Vol_004
BTS00005814     BTS00005814                              6, 7                BTS_Vol_004
BTS00005815     BTS00005824                            6, 7, 39              BTS_Vol_004
BTS00005825     BTS00005825                          6, 7, 25, 26            BTS_Vol_004
BTS00005826     BTS00005830                            6, 7, 39              BTS_Vol_004
BTS00005831     BTS00005832                              6, 7                BTS_Vol_004
BTS00005833     BTS00005871                            6, 7, 39              BTS_Vol_004
BTS00005872     BTS00005873                              6, 7                BTS_Vol_004
BTS00005874     BTS00005889                            6, 7, 39              BTS_Vol_004
BTS00005890     BTS00005890                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005891     BTS00005903                            6, 7, 39              BTS_Vol_004
BTS00005904     BTS00005905                              6, 7                BTS_Vol_004
BTS00005906     BTS00005931                            6, 7, 39              BTS_Vol_004
BTS00005932     BTS00005933                              6, 7                BTS_Vol_004
BTS00005934     BTS00005935                            6, 7, 39              BTS_Vol_004
BTS00005936     BTS00005937                              6, 7                BTS_Vol_004
BTS00005938     BTS00005949                            6, 7, 39              BTS_Vol_004
BTS00005950     BTS00005951                              6, 7                BTS_Vol_004
BTS00005952     BTS00005975                            6, 7, 39              BTS_Vol_004
BTS00005976     BTS00005977                              6, 7                BTS_Vol_004
BTS00005978     BTS00005984                            6, 7, 39              BTS_Vol_004
BTS00005985     BTS00005985                          6, 7, 25, 26            BTS_Vol_004
BTS00005986     BTS00006011                            6, 7, 39              BTS_Vol_004
BTS00006012     BTS00006017                              6, 7                BTS_Vol_004
BTS00006018     BTS00006024                            6, 7, 39              BTS_Vol_004
BTS00006025     BTS00006025                          6, 7, 25, 26            BTS_Vol_004
BTS00006026     BTS00006030                            6, 7, 39              BTS_Vol_004
BTS00006031     BTS00006031                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00006032     BTS00006156                              6, 7                BTS_Vol_004
BTS00006157     BTS00006162                            6, 7, 39              BTS_Vol_004
BTS00006163     BTS00006163                          6, 7, 25, 26            BTS_Vol_004
BTS00006164     BTS00006171                            6, 7, 39              BTS_Vol_004
BTS00006172     BTS00006174                              6, 7                BTS_Vol_004
BTS00006175     BTS00006179                            6, 7, 39              BTS_Vol_004
BTS00006180     BTS00006184                              6, 7                BTS_Vol_004




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00006185     BTS00006222                            6, 7, 39              BTS_Vol_004
BTS00006223     BTS00006226                              6, 7                BTS_Vol_004
BTS00006227     BTS00006248                            6, 7, 39              BTS_Vol_004
BTS00006249     BTS00006249                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00006250     BTS00006253                            6, 7, 39              BTS_Vol_004
BTS00006254     BTS00006255                              6, 7                BTS_Vol_004
BTS00006256     BTS00006257                            6, 7, 39              BTS_Vol_004
BTS00006258     BTS00006259                              6, 7                BTS_Vol_004
BTS00006260     BTS00006340                            6, 7, 39              BTS_Vol_004
BTS00006341     BTS00006341                          6, 7, 25, 26            BTS_Vol_004
BTS00006342     BTS00006350                            6, 7, 39              BTS_Vol_004
BTS00006351     BTS00006353                              6, 7                BTS_Vol_004
BTS00006354     BTS00006366                            6, 7, 39              BTS_Vol_004
BTS00006367     BTS00006367                          6, 7, 25, 26            BTS_Vol_004
BTS00006368     BTS00006380                            6, 7, 39              BTS_Vol_004
BTS00006381     BTS00006383                              6, 7                BTS_Vol_004
BTS00006384     BTS00006392                            6, 7, 39              BTS_Vol_004
BTS00006393     BTS00006400                              NA                  BTS_Vol_005
BTS00006401     BTS00006404                              6, 7                BTS_Vol_005
BTS00006405     BTS00006406                               7                  BTS_Vol_005
BTS00006407     BTS00006409                              6, 7                BTS_Vol_005
BTS00006410     BTS00006411                            6, 7, 39              BTS_Vol_005
BTS00006412     BTS00006419                              6, 7                BTS_Vol_005
BTS00006420     BTS00006423                            6, 7, 39              BTS_Vol_005
BTS00006424     BTS00006429                              6, 7                BTS_Vol_005
BTS00006430     BTS00006432                               7                  BTS_Vol_005
BTS00006433     BTS00006436                              6, 7                BTS_Vol_005
BTS00006437     BTS00006438                               7                  BTS_Vol_005
BTS00006439     BTS00006440                              6, 7                BTS_Vol_005
BTS00006441     BTS00006446                               7                  BTS_Vol_005
BTS00006447     BTS00006454                              6, 7                BTS_Vol_005
BTS00006455     BTS00006456                               7                  BTS_Vol_005
BTS00006457     BTS00006464                              6, 7                BTS_Vol_005
BTS00006465     BTS00006469                               7                  BTS_Vol_005
BTS00006470     BTS00006471                              6, 7                BTS_Vol_005
BTS00006472     BTS00006475                               7                  BTS_Vol_005
BTS00006476     BTS00006477                              6, 7                BTS_Vol_005
BTS00006478     BTS00006479                               7                  BTS_Vol_005
BTS00006480     BTS00006486                              6, 7                BTS_Vol_005
BTS00006487     BTS00006488                            6, 7, 39              BTS_Vol_005
BTS00006489     BTS00006490                              6, 7                BTS_Vol_005
BTS00006491     BTS00006494                               7                  BTS_Vol_005
BTS00006495     BTS00006498                              6, 7                BTS_Vol_005




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00006499     BTS00006501                               7                  BTS_Vol_005
BTS00006502     BTS00007104                            6, 7, 39              BTS_Vol_005
BTS00007105     BTS00007106                               7                  BTS_Vol_005
BTS00007107     BTS00007108                              6, 7                BTS_Vol_005
BTS00007109     BTS00007110                               7                  BTS_Vol_005
BTS00007111     BTS00007114                              6, 7                BTS_Vol_005
BTS00007115     BTS00007116                            6, 7, 39              BTS_Vol_005
BTS00007117     BTS00007118                               7                  BTS_Vol_005
BTS00007119     BTS00007123                              6, 7                BTS_Vol_005
BTS00007124     BTS00007127                               7                  BTS_Vol_005
BTS00007128     BTS00007130                            6, 7, 39              BTS_Vol_005
BTS00007131     BTS00007132                              6, 7                BTS_Vol_005
BTS00007133     BTS00007135                          6, 7, 15, 31            BTS_Vol_005
BTS00007136     BTS00007146                              6, 7                BTS_Vol_005
BTS00007147     BTS00007148                            6, 7, 39              BTS_Vol_005
BTS00007149     BTS00007150                               7                  BTS_Vol_005
BTS00007151     BTS00007153                              6, 7                BTS_Vol_005
BTS00007154     BTS00007155                            6, 7, 39              BTS_Vol_005
BTS00007156     BTS00007157                              6, 7                BTS_Vol_005
BTS00007158     BTS00007159                            6, 7, 39              BTS_Vol_005
BTS00007160     BTS00007161                               7                  BTS_Vol_005
BTS00007162     BTS00007164                            6, 7, 39              BTS_Vol_005
BTS00007165     BTS00007167                          6, 7, 15, 31            BTS_Vol_005
BTS00007168     BTS00007190                            6, 7, 39              BTS_Vol_005
BTS00007191     BTS00007192                              6, 7                BTS_Vol_005
BTS00007193     BTS00007195                            6, 7, 39              BTS_Vol_005
BTS00007196     BTS00007197                              6, 7                BTS_Vol_005
BTS00007198     BTS00007199                               7                  BTS_Vol_005
BTS00007200     BTS00007201                              6, 7                BTS_Vol_005
BTS00007202     BTS00007203                            6, 7, 39              BTS_Vol_005
BTS00007204     BTS00007207                               7                  BTS_Vol_005
BTS00007208     BTS00007209                            6, 7, 39              BTS_Vol_005
BTS00007210     BTS00007212                               7                  BTS_Vol_005
BTS00007213     BTS00007214                            6, 7, 39              BTS_Vol_005
BTS00007215     BTS00007218                              6, 7                BTS_Vol_005
BTS00007219     BTS00007220                            6, 7, 39              BTS_Vol_005
BTS00007221     BTS00007222                               7                  BTS_Vol_005
BTS00007223     BTS00007228                              6, 7                BTS_Vol_005
BTS00007229     BTS00007230                               7                  BTS_Vol_005
BTS00007231     BTS00007232                              6, 7                BTS_Vol_005
BTS00007233     BTS00007234                            6, 7, 39              BTS_Vol_005
BTS00007235     BTS00007236                              6, 7                BTS_Vol_005
BTS00007237     BTS00007240                               7                  BTS_Vol_005




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00007241     BTS00007243                              6, 7                BTS_Vol_005
BTS00007244     BTS00007245                               7                  BTS_Vol_005
BTS00007246     BTS00007247                            6, 7, 39              BTS_Vol_005
BTS00007248     BTS00007249                              6, 7                BTS_Vol_005
BTS00007250     BTS00007251                            6, 7, 39              BTS_Vol_005
BTS00007252     BTS00007252                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007253     BTS00007256                          6, 7, 25, 26            BTS_Vol_005
BTS00007257     BTS00007257                           7, 25, 26              BTS_Vol_005
BTS00007258     BTS00007259                          6, 7, 25, 26            BTS_Vol_005
BTS00007260     BTS00007260                           7, 25, 26              BTS_Vol_005
BTS00007261     BTS00007261                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007262     BTS00007264                          6, 7, 25, 26            BTS_Vol_005
BTS00007265     BTS00007265                           7, 25, 26              BTS_Vol_005
BTS00007266     BTS00007266                            25, 26                BTS_Vol_005
BTS00007267     BTS00007268                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007269     BTS00007269                          6, 7, 25, 26            BTS_Vol_005
BTS00007270     BTS00007270                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007271     BTS00007273                          6, 7, 25, 26            BTS_Vol_005
BTS00007274     BTS00007275                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007276     BTS00007276                           7, 25, 26              BTS_Vol_005
BTS00007277     BTS00007280                          6, 7, 25, 26            BTS_Vol_005
BTS00007281     BTS00007281                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007282     BTS00007282                               7                  BTS_Vol_005
BTS00007283     BTS00007283                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007284     BTS00007284                            25, 26                BTS_Vol_005
BTS00007285     BTS00007285                          6, 7, 25, 26            BTS_Vol_005
BTS00007286     BTS00007286                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007287     BTS00007291                          6, 7, 25, 26            BTS_Vol_005
BTS00007292     BTS00007292                            25, 26                BTS_Vol_005
BTS00007293     BTS00007293                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007294     BTS00007309                          6, 7, 25, 26            BTS_Vol_005
BTS00007310     BTS00007311                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007312     BTS00007312                           7, 25, 26              BTS_Vol_005
BTS00007313     BTS00007314                          6, 7, 25, 26            BTS_Vol_005
BTS00007315     BTS00007315                           7, 25, 26              BTS_Vol_005
BTS00007316     BTS00007316                          6, 7, 25, 26            BTS_Vol_005
BTS00007317     BTS00007317                            25, 26                BTS_Vol_005
BTS00007318     BTS00007318                          6, 7, 25, 26            BTS_Vol_005
BTS00007319     BTS00007319                           7, 25, 26              BTS_Vol_005
BTS00007320     BTS00007320                            25, 26                BTS_Vol_005
BTS00007321     BTS00007321                          6, 7, 25, 26            BTS_Vol_005
BTS00007322     BTS00007323                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007324     BTS00007327                          6, 7, 25, 26            BTS_Vol_005




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)           Volume
BTS00007328     BTS00007510                               12                  BTS_Vol_005
BTS00007511     BTS00007520                              N/A                  BTS_Vol_006
BTS00007521     BTS00014444                               39                  BTS_Vol_006
BTS00014445     BTS00014520                               35                  BTS_Vol_006
BTS00014521     BTS00014531                              N/A                  BTS_Vol_007
BTS00014532     BTS00029806                               39                  BTS_Vol_007
BTS00029807     BTS00030616                               12                  BTS_Vol_007
BTS00030617     BTS00030627                              N/A                  BTS_Vol_008
BTS00030628     BTS00030731                               2                   BTS_Vol_008
BTS00030732     BTS00030782                               12                  BTS_Vol_008
BTS00030783     BTS00030783                               2                   BTS_Vol_008
BTS00030784     BTS00030794                              N/A                  BTS_Vol_009
BTS00030795     BTS00030795                               2                   BTS_Vol_009
BTS00030796     BTS00030799                               12                  BTS_Vol_009
BTS00030800     BTS00030811                              N/A                  BTS_Vol_010
BTS00030812     BTS00030812                               2                   BTS_Vol_010
BTS00030813     BTS00031987                1, 9, 12, 11, 14, 32, 35, 39, 43   BTS_Vol_010
BTS00031988     BTS00031999                              N/A                  BTS_Vol_011
BTS00032000     BTS00033432                               9                   BTS_Vol_011
BTS00033433     BTS00033444                              N/A                  BTS_Vol_012
BTS00033445     BTS00033787                               9                   BTS_Vol_012
BTS00033788     BTS00035177                             15, 31                BTS_Vol_012
BTS00035178     BTS00037792                  8, 13, 21, 31, 38, 43, 44, 45    BTS_Vol_012
BTS00037793     BTS00037802                           23, 24, 27              BTS_Vol_012




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               Exhibit B: Narrative Responses to Request Nos. 23, 24 and 27

         BAM Trading provides the following narrative descriptions in response to Request Nos.
23, 24 and 27 of the Subpoena as part of BAM Trading’s ongoing cooperation with the SEC’s
investigation. The responses below are based upon counsel for BAM Trading’s reasonable
investigation in response to each Request. BAM Trading’s business relies on its Master
Services, Software Licensing and customer wallet custody agreements with Binance Holdings
Limited (“Binance Holdings”) for maintenance of BAM Trading’s infrastructure and user custody
accounts. Accordingly, the first-hand information within BAM Trading’s possession, custody or
control regarding the underlying infrastructure and mechanics of the platform’s operation is
necessarily limited, which may affect the completeness of the below responses to the Requests.
All responses below are therefore based on the information currently within BAM Trading’s
possession. Because the investigation is still underway, BAM Trading expressly reserves the
right to amend, revise, correct, supplement, or clarify any of the below narrative descriptions
pursuant to additional facts or information gathered at any time after the date of this response.

SEC Request No. 23: Descriptions, schematics, or Documents sufficient to explain or show the
entire lifecycle of all types of orders and transactions submitted and/or executed on BAM
Trading’s platform, including but not limited to, the different permutations of how buy and sell
orders may interact and execute on the BAM Trading Platform or in connection with the BAM
Trading Platform.

SEC Request No. 24: Documents sufficient to explain or show the extent to which, and the
means by which, the BAM Trading Platform brings together buyers and sellers to offer, buy, sell,
or trade any digital asset, including but not limited to, the entry, display, interaction, matching,
and treatment of and execution of orders and indications of trading interest for all types of
trading, including but not limited to internalized trades.

Responses to SEC Requests Nos. 23 and 24:

         BAM Trading’s core business is the operation of a digital asset trading and settlement
platform (“Platform”) that allows its customers to trade digital assets with other users, either in
exchange for other digital assets or for U.S. dollars (“USD”). The lifecycle of the following types
of orders and transactions executed on the Platform are discussed below: (i) deposits and
withdrawals of virtual assets; (ii) deposits and withdrawals of USD; (iii) trades of USD for/from a
digital asset; and (iv) trades of digital assets for/from other digital assets.

I.      Deposit and Withdrawals of Virtual Assets

        Once a BAM Trading customer (“User”) has created an account with BAM Trading and
has been approved to trade by BAM Trading’s Compliance Team, the User is able to deposit or
withdraw digital assets through their Binance.US account by selecting “Deposit” or “Withdraw”
on their dashboard.

       For deposits, the User selects the digital asset to deposit, upon which a digital asset
deposit address is displayed. The User will then send an amount of relevant digital assets to
the specified deposit address from another wallet, which will be transferred on the relevant
blockchain by the User.




                                                 1
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        For withdrawals, the User selects the digital asset to withdraw and enters the withdrawal
address to which the digital asset will be transferred. The User will then receive an email asking
for confirmation of the withdrawal. The User must then confirm that the transaction was
intended and select “Confirm Withdraw” on the BAM Trading interface.

        Once the withdrawal request is confirmed, Binance Holdings, the wallet custodian,
transfers the digital asset on the relevant blockchain to the specified deposit address from the
User’s Digital Asset Wallet. Once completed, the withdrawal will appear on the User’s “Deposit
and Withdrawal History.”1

II.     Deposits and Withdrawals of USD

        BAM Trading has partnered with Prime Trust LLC (“Prime Trust”), a trust company, to
provide USD custody and certain money transmission services. The BAM Trading Platform has
integrated Prime Trust’s application programming interface (“API”) to facilitate USD settlement.
For digital asset purchases and sales involving USD, BAM Trading instructs Prime Trust to debit
or credit a User’s Linked Wallet via API. USD settlement and clearing services relating to the
exchange of digital assets for USD are provided by Prime Trust.

         Each User that wishes to purchase digital assets with, or sell digital assets for USD on
the BAM Trading Platform must first (i) complete the Prime Trust customer verification process,
and (ii) agree to Prime Trust’s terms of service. Once verified, Prime Trust issues the User a
Prime Trust account through BAM Trading, which can be used to deposit and withdraw USD to
facilitate trades on the BAM Trading Platform. Users do not communicate with Prime Trust
directly; rather, the onboarding and account maintenance occurs through BAM Trading.

        Users can deposit or withdraw USD in three ways: (1) ACH transfer; (2) domestic wire
transfer; or (3) debit card (deposits only).

        A.      Deposit or withdrawal of USD via Automated Clearinghouse (“ACH”)

        Users link their bank account to their account at Prime Trust through one of two
methods: (1) providing their online banking credentials to Plaid, a third-party API; or (2)
manually entering their routing and account numbers, then verifying micro-deposits. Under
BAM Trading’s wallet tab, a User will click “Deposit” or “Withdraw,” select USD as the coin,
enter the amount, select a bank account, and confirm the transaction. BAM Trading, by
instructing Prime Trust, will initiate an ACH debit or credit transaction from (or to) the User’s
external bank account to (or from) the User’s Prime Trust Account. The User will receive an
email seeking to confirm the disbursement verification from Prime Trust. The User will need to
confirm and verify the disbursement within 24 hours, otherwise, the transaction will not be
processed.

        B.      Deposits and withdrawals of USD via domestic wire transfer

       For deposits, under BAM Trading’s wallet tab, a User selects “Deposit,” selects USD as
the deposit coin, enters the amount to deposit, selects “Wire” from the dropdown menu, and

1
        A transaction ID (“TXID”) or transaction hash is a unique string of characters given to every
transaction that is verified and added to the blockchain. In other words, a TXID is an identification
number that labels each transaction on the blockchain.


                                                     2
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follows the wire deposit instructions to wire funds into their BAM Trading account. The User
must also contact their bank to fulfill the order, complete the authorization process, and submit
the bank authorization form, making sure to include the relevant reference code. The User will
then have their bank wire the USD to their BAM Trading account.

        For withdrawals via wire, under BAM Trading’s wallet tab, a User will click “Withdraw,”
select USD as the coin, and enter the amount to withdraw. The User will then verify the details
and receive a disbursement confirmation from Prime Trust to their email address prior to funds
being sent to the User’s bank account.

       C.      Deposits via debit card

       From the Binance.US dashboard, the User enters the debit card credentials and adds
the card information by following the steps presented. The User enters the USD amount to
deposit. BAM Trading, by instructing Prime Trust, will initiate a debit card transaction through
the applicable card network, which will debit the User’s account for which they have a debit card
and credit the User’s Prime Trust Account.

III.   Trading Digital Assets for Other Digital Assets or Fiat Currency:

        Users can trade on the Platform in three different ways: (A) on BAM Trading’s exchange
platform subject to the trading limitations; (B) through “One-Click Buy/Sell” orders (“OCBS”); or
(C) through BAM Trading’s over-the-counter trading platform (“OTC” Trading). The BAM
Trading Platform and OTC Trading allow customers to trade digital assets for other digital
assets (if BAM Trading supports the digital asset pair), or digital assets for USD. The OCBS
system allows customers to more quickly purchase or sell digital assets for USD.

        The BAM Trading Platform is also available to retail users via Apple iOS and Google
Android mobile applications (“Mobile App”). Users download the Mobile App through the App
Store or Google Play. Users may complete OCBS transactions through the Mobile App,
including recurring buys.

       A.      BAM Trading Exchange Platform

        A User who has established and loaded funds or digital assets into a Prime Trust
Account or Digital Asset Wallet, respectively, may engage in trades by placing an order—i.e., a
preference to buy or sell a certain amount of a digital asset for another digital asset or USD at a
certain price—into an electronic, real-time list of open orders on the BAM Trading Order Book
(“Order Book”). When any two Users on the BAM Trading Platform have submitted compatible
orders, Binance Holding’s software, use of which is provided to BAM Trading pursuant to
license, will automatically identify the matching orders, fulfill the trade by removing both orders
from the Order Book, and assist in the settlement of the transaction by distributing assets in the
counterparties’ Digital Asset Wallets and/or by instructing the execution of corresponding debits
and credits in the counterparties’ Prime Trust Accounts.

      As described in the Response to SEC Request No. 27 below, the matching engine
matches Taker Orders with the earliest in time Maker Order at the best price on the Order Book.

       Users have two exchange platform interface options from which they may select after
logging into their account: (1) “Basic” trading mode; and (2) “Advanced” trading mode. A User


                                                 3
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can place market orders, limit orders, and stop orders in both the “Basic” and “Advanced”
modes. In both modes, a User selects the digital asset they wish to trade and then the Platform
shows the User the available digital asset or USD pairings they can choose from.

         The “Basic” screen sets out metrics concerning the various offered assets, including the
last price, price changes over the last 24 hours, the high and low prices from the last 24 hours,
and 24-hour trading volume.

       A screenshot of the Bitcoin/U.S. dollar (BTC/USD) pairing in the “Basic” mode, taken on
June 10, 2021 and identifying the pricing and volume information for this pairing, is shown below
as Diagram 1:




Diagram 2 below illustrates the user interface for placing an order in the “Basic” mode. The
User fills in the required information and then clicks “Buy [digital asset]” or “Sell [digital asset].”




                                                    4
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       The “Advanced” mode works in essentially the same way as the “Basic” mode, however
the “Advanced” mode provides more sophisticated tools for Users.

       A screenshot of the Bitcoin/U.S. dollar (BTC/USD) pairing in the “Advanced” mode,
taken on June 10, 2021, is shown below as Diagram 3:




      An example of the funds flow in a typical USD transaction involving a Prime Trust
Account is depicted below in Diagram 4 (with its accompanying explanation):




                                              5
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a)      Chris loads USD into a Prime Trust Account. Chris wishes to purchase 2 BTC on the
        platform at a price of $7,500 each (totaling $15,000). Chris has opened a Prime Trust
        Account with Prime Trust and a Digital Asset Wallet with BAM Trading, and has enough
        USD in his Prime Trust Account to purchase the BTC (and pay any associated trading
        fees).
b)      Jane loads BTC into a Digital Asset Wallet. Jane wishes to sell 2 BTC on the platform
        at a price of $7,500 each. Jane has created a Digital Asset Wallet with BAM Trading and
        opened a Prime Trust Account with Prime Trust. Jane has at least 2 BTC in her Digital
        Asset Wallet.
c)      Chris places a limit order to purchase 2 BTC. Chris uses the platform interface to place
        a BTC purchase limit order into the Order Book. We will assume that Chris places the
        order first and no counterparty is immediately available. Chris’s order remains open on
        the Order Book; accordingly, Chris is the Maker.
d)      Jane places a limit order to sell 2 BTC. Jane subsequently uses the platform interface
        to place a BTC sell limit order into the Order Book. As Jane’s order matches an open
        order in the Order Book and will therefore result in immediate execution of the trade, Jane
        is the Taker.
e)      BAM Trading settles the Trade in the Users’ Digital Asset Wallets. BAM Trading’s
        licensed matching engine will immediately identify Chris as an available counterparty to
        Jane and will cause immediate settlement of the trade. To settle the order, BAM Trading
        will debit Jane’s Digital Asset Wallet 2 BTC and credit Chris’s Digital Asset Wallet 2 BTC.
f)      BAM Trading instructs Prime Trust to settle the trade in the Users’ Prime Trust
        Accounts. Via the integration of the Prime Trust API with the BAM Trading Platform, BAM
        Trading will instruct Prime Trust to debit Chris’s Prime Trust Account in the amount of
        $15,000, plus any applicable trading fees, and credit Jane’s Prime Trust Account in the
        amount of $15,000, minus any applicable trading fees. Prime Trust effects the movement
        of funds pursuant to such instructions.

       For a depiction and example of the funds flow in a typical digital asset transaction,
please refer to Diagram 5 below (with its accompanying explanation):




                                                 6
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a)      Claire loads BTC into her BAM Digital Asset Wallet. Claire wishes to sell her 2 BTC
        on the platform for ETH. Claire has transferred at least 2 BTC from an external digital
        asset wallet to her Digital Asset Wallet with BAM Trading.
b)      Joe loads ETH into a Digital Asset Wallet. Joe wishes to buy 2 BTC on the platform in
        exchange for his ETH. Joe has created a Digital Asset Wallet with BAM Trading and
        transferred his ETH from his external digital asset wallet into his BAM Digital Asset Wallet.
c)      Claire places a limit order to sell 2 BTC for ETH. Claire uses the platform interface to
        place a BTC limit order into the Order Book. We will assume that Claire places the order
        first and no counterparty is immediately available. Claire’s order remains open on the
        Order Book; accordingly, Claire is the Maker.
d)      Joe places a limit order to buy 2 BTC in exchange for ETH. Joe also uses the platform
        interface to place a BTC limit order into the Order Book. As Joe’s order matches an open
        order in the Order Book and will therefore result in immediate execution of the trade, Joe
        is the Taker.
e)      BAM Trading settles the Trade in the Users’ Digital Asset Wallets. The matching
        engine, use of which is provided by license from Binance Holdings, will immediately
        identify Claire as an available counterparty to Joe and will cause immediate settlement of
        the Trade. To settle the order, BAM Trading will credit Joe’s Digital Asset Wallet 2 BTC
        and debit the ETH; and debit Claire’s Digital Asset Wallet 2 BTC and credit the ETH.
f)      Claire and Joe can transfer their newly-acquired digital assets to their non-BAM
        Trading digital asset wallets. Claire may transfer her ETH to a non-BAM Trading digital
        asset wallet, which will be recorded on the blockchain. Joe may transfer his 2 BTC to a
        non-BAM Trading digital asset wallet, which will be recorded on the blockchain.

        B.     OCBS Orders

         BAM Trading also offers the OCBS interface, which is a simplified method for buying or
selling digital assets for USD at a pre-set conversion rate. This feature has been available on
the BAM Trading Platform since Q1 2020. For buying or selling digital assets, Users select the
digital asset and input the amount they want to buy or sell. A conversion rate is shown. A
payment method must be chosen by the User, which may include the USD balance in the
User’s Prime Trust Account or via ACH transaction to the User’s Prime Trust Account. The
User may choose to engage in a one-time purchase or set up recurring purchases. Orders
conducted through OCBS are filled by Sigma Chain AG, which BAM Trading understands to be
affiliated with Binance Holdings.



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                                                 7
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      A screenshot of the OCBS interface, taken on June 10, 2021, is shown below as
Diagram 6:




       C.     OTC Trading

        The OTC Trading portal allows Users to engage in trades in specified digital assets as
single blocks without the risk of not finding a counterparty or of having to break their trade up
into multiple smaller trades in order to fill it. In other words, instead of a User submitting an
order to purchase digital assets at a certain price through the BAM Trading Platform, and relying
on the matching process to find a corresponding order to complete the trade, Users are able to
enter into bespoke trades at specified prices, with Alameda Research (“Alameda”), an entity
acting as a market maker through the OTC Trading portal. BAM Trading understands that
Binance Holdings also plays a role in facilitating the execution of OTC trades with Alameda.
BAM Trading does not use its own inventory of digital assets or USD to facilitate OTC Trading.

SEC Request No. 27: Documents sufficient to explain how any digital asset transactions made
using the BAM Trading Platform are published to an internal ledger or order book and the roles,
involvement, or inputs of any Person(s) (including entities).
Response to SEC Request No. 27:
         The BAM Trading Platform offers spot purchase and sale of digital assets through a
central order book matching facility. BAM Trading licenses the technology for its Order Book
from Binance Holdings pursuant to the terms of the Master Services Agreement and Software
Licensing Agreement between those two entities. It is BAM Trading’s understanding that this
technology was developed and is maintained by Binance Holdings and/or one of its non-U.S.
affiliates.

        BAM Trading’s Order Book is a list of the currently open buy and sell orders (“Orders”)
for an asset, organized by price. The matching engine uses the Order Book to execute trades



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for participants of the exchange. When any two Users on the BAM Trading Platform have
submitted compatible Orders, BAM Trading’s internal licensed software will automatically
identify the matching orders, fulfill the trade by removing both Orders from the Order Book, and
assist in the settlement of the transaction by executing corresponding debits and credits in the
counterparties’ digital asset wallets (and/or by instructing the execution of corresponding debits
and credits in the counterparties’ Prime Trust Accounts).

I.       Types of Orders

       To place an Order on the Order Book, the User must have an available balance of the
relevant asset in their custodial wallet, which is sufficient to cover the total value of the Order
plus any applicable fees. When a User places an Order, that quantity of the relevant asset
becomes subject to a “hold.” All aspects of placing an Order on the Order Book occur
automatically.

         Orders placed on the BAM Trading Platform must conform to one of the following Order
types:

a)       A limit order, whereby a User desires to buy or sell a specified quantity of a digital asset
         at a specified price or better, as expressed in either another digital asset or a specific price
         in USD;

b)       A market order, whereby a User desires to buy or sell a specified quantity of a digital
         asset at the best “price” available, as expressed in either another digital asset or in USD;
         or

c)       A stop order, whereby a User desires to post an order to buy or sell a specified quantity
         of a digital asset, but only if and when the last trade price on the Order Book is equal to,
         lower than (as in the case of a sell stop order) or higher than (as in the case of a buy stop
         order) the stop price.

II.      Types of Posting to the Order Book

         There are several ways that the User may post an Order to the Order Book:

a)       Limit orders are posted instantly to the Order Book, unless the User selects “post-only,”
         in which case the Order would not be posted if it is at the same price as an existing order.
         Users can also select how long their limit order will remain on the Order Book, either (i)
         “good till cancelled,” which will remain on the Order Book until it is cancelled by the User;
         (ii) “immediate or cancel,” which will only be posted to the Order Book to the extent it will
         be immediately filled (in whole or in part); and (iii) “fill or kill,” which will only be posted to
         the Order Book if it would be immediately and completely filled.

b)       Market orders may fill at a number of different prices, depending on the quantity of the
         order and the existing orders on the Order Book at that time. A valid market order will be
         immediately posted to the Order Book.

c)       Stop orders provide instructions on the circumstances under which an Order will be
         posted to the Order Book, depending on certain pricing specifications. Once a stop order
         is placed, it is considered “active” until it is executed, but it does not actually post to the


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       Order Book and is not visible to other Users. If the conditions are met, then the resulting
       Order will be posted to the Order Book and made visible.

III.   Maker Orders and Taker Orders

       If a User places an Order on the BAM Trading Platform and there is no compatible
counter-order immediately available, such User is a “Maker” and that Order is a “Maker Order.”
A Maker Order will remain open on the Order Book until the Order is matched with a compatible
Order, and a Trade is executed, or until canceled by the Maker.

       If a User places an Order that is immediately settled against an open and compatible
Order on the Order Book, such User is a “Taker” and that Order is a “Taker Order.” The
matching engine matches Taker Orders with the earliest in time Maker Order at the best price
on the Order Book. If such a Taker Order is not completely filled by that Maker Order, the Taker
Order is matched with any subsequent Maker Orders at that price (or the next-best price, if no
more Maker Orders exist at the best price), in the sequence in which such Maker Orders were
posted.

IV.    Matching an Order on the Order Book

        If an Order is posted to the Order Book at the same price as one or more existing
Orders, it is a Taker Order which will result in an immediate fill at that price, to the extent of the
total quantity of those existing Order. To the extent the Order is posted to the Order Book at a
different price than all existing Orders, then it will remain open on the Order Book until either (1)
the Order is cancelled by the User; or (2) it is eventually filled by one or more Taker Orders.

V.     Order Fills and Settlement

         When a Maker Order is matched to a Taker Order, the Order is filled. When the Order is
filled, BAM Trading proceeds to direct the settlement of the filled Orders, by debiting and
crediting the relevant digital asset balances in the Users’ digital asset wallets on the BAM
Trading Platform. Currently, settlement and clearing services are provided by Binance Holdings
to BAM Trading pursuant to the Master Services and Software Licensing Agreements.

        When participating in a trade on the BAM Trading Platform, neither User knows the
identity of the counterparty to the trade. BAM Trading does not permit bilateral clearing. Put
another way, Users do not have the ability to send funds or digital assets directly to one another
through the BAM Trading Platform, they may do so only through transactions utilizing the Order
Book.




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  FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                         BTS00037802
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                                                             CONFIDENTIAL TREATMENT REQUESTED
                                                                   BY BAM TRADING SERVICES INC.
                                                                    PURSUANT TO 17 C.F.R. § 200.83
June 11, 2021



BY FEDERAL EXPRESS AND EMAIL (RULE 83CTRS@SEC.GOV)

Freedom of Information Act Officer
Office of Freedom of Information and Privacy Act Operations
U.S. Securities and Exchange Commission
100 F Street, NE
Mail Stop 2736
Washington, DC 20549

Re:     In the Matter of Binance.US (HO-13865)

Dear Sir/Madam:

        The undersigned represent BAM Trading Services Inc. (“BAM Trading”) in the above captioned
matter. Pursuant to Securities and Exchange Commission Rule 83, 17 C.F.R. § 200.83, we formally
request that the U.S. Securities and Exchange Commission (the “Commission”) afford confidential
treatment to our April 29, 2021 letter to Kathleen Hitchins, Senior Counsel, Division of Enforcement,
Bates-stamped BTS00033433 – BTS00033435 and documents produced under cover of that letter and
the exhibit thereto, Bates-stamped BTS00033445 - BTS00037802. A copy of our letter to Ms. Hitchins
is enclosed in an envelope marked “FOIA Confidential Treatment Requested.” This request also applies
to any transcripts, notes, memoranda, or other materials of any sort which are made by any employee of
the Commission or any other governmental agency and which incorporate, refer, or relate to the letter
and enclosed documents (collectively, the letter dated June 10, 2021 and the documents enclosed
therein, and any materials referring to the letter and the contents of the enclosed documents are referred
to herein as the “Confidential Materials”).

        All of the Confidential Materials contain or constitute confidential information. We therefore
request and expect that all of the Confidential Materials will be kept in a non-public file and that access
to the Confidential Materials by any third party not a member of the Commission or its staff will be denied.
Should the Commission receive any request for the Confidential Materials, whether pursuant to the
Freedom of Information Act, 5 U.S.C. § 522, or otherwise, we understand and expect that we will be
given an opportunity to object to such a disclosure. Moreover, should the Commission be inclined to
disclose the Confidential Materials to any third party not a member of the Commission or its staff, it is our
expectation and request that, in accordance with normal Commission practice, we will be given ten




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June 11, 2021
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                                                         CONFIDENTIAL TREATMENT REQUESTED
                                                               BY BAM TRADING SERVICES INC.
                                                                PURSUANT TO 17 C.F.R. § 200.83

business days’ advance notice of any such intent by the Commission so that our client may pursue any
available remedies. In that event, we further request that you telephone undersigned counsel immediately
in addition to sending the required notice by mail.

       On behalf of BAM Trading, we request an acknowledgement of receipt of this written request that
information not be disclosed under FOIA. Kindly acknowledge receipt of this letter by signing and dating
the enclosed copy and returning it to Meghan K. Spillane in the enclosed self-addressed, stamped
envelope.

      Please contact any of us at the numbers provided above should you have any questions or
concerns about this request for confidential treatment.



Sincerely,


/s/ Grant P. Fondo

Grant P. Fondo
Meghan K. Spillane


cc:     Kathleen Hitchins, Senior Counsel, U.S. Securities and Exchange Commission
        Paul Kim, Assistant Director, U.S. Securities and Exchange Commission
        Ann Rosenfield, Senior Counsel, U.S. Securities and Exchange Commission
        Adam Gottlieb, Senior Counsel, U.S. Securities and Exchange Commission

        Matthew Solomon, Cleary Gottlieb Steen & Hamilton LLP
        Alexander Janghorbani, Cleary Gottlieb Steen & Hamilton LLP




Acknowledged by: _______________________

Date: _________________________________




      FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                  BTS00033444
